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             Michael Nacchio
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                                                                                November 23, 2020

             Via ECF

             Honorable Lewis J. Liman
             United States District Judge
             Southern District of New York
             500 Pearl Street
             New York, New York 10007

                        Re:        HC2, Inc. v. Andrew Delaney
                                   Civil Action No. 20-cv-03178-LJL

             Dear Judge Liman:

                     This firm represents HC2, Inc. Plaintiff writes to report on a discovery dispute in advance of
             the November 30, 2020 fact discovery deadline. The parties have unsuccessfully conferred as set
             forth below and Defendant also declined Plaintiff’s overture to file a version of this letter as a joint
             letter.

                     Plaintiff conducted Defendant’s deposition on September 9, 2020, as directed by the Court at
             the August 27, 2020 discovery conference. Plaintiff also served a post-deposition Request for
             Production of Documents (RFP) and a post-deposition Request for Admission (RFA) upon Defendant
             on October 7, 2020. Defendant did not respond to either. The RFP sought four items; the RFA
             interposed two questions.

                     Plaintiff informed Defendant’s counsel by letter dated November 10, 2020 that Plaintiff had
             not received responses to either of the RFP and RFA. Plaintiff’s letter also informed that Plaintiff
             deemed the RFAs admitted under Rule 36, and requested responses to the RFP by November 18, to
             “avoid the need for judicial intervention.” Defendant’s counsel responded by email later that day that
             Defendant had not “admitted anything” because the Court “stated at the last hearing that all discovery
             items…would be revisited after [the Court’s] decision on HC2’s motion to dismiss.”

                    Therefore, Plaintiff brings the outstanding RFP and RFA to the Court’s attention. We look
             forward to discussing them at the next scheduled conference in this matter.




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Honorable Lewis J. Liman
HC2 Inc. v. Delaney
November 23, 2020

      We thank the Court for its time and attention to this matter.

                                            Respectfully Submitted,

                                            OGLETREE, DEAKINS, NASH,
                                            SMOAK & STEWART, P.C.

                                            s/ Michael Nacchio

                                            Michael Nacchio

                                                                           45060535.1
